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Via ECF                                                             June 19, 2025
Hon. Jeannette Vargas
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     Letter Brief in Support of Motion to Dismiss,
               Haggai et al., v. Kiswani et al., 25-civ-2400(JV)

Dear Judge Vargas,

        I write on behalf of Defendant Cameron Jones to join the arguments set forth in the
motion to dismiss by Defendant Maryam Alwan, see ECF No. 54, and the motion to dismiss and
strike by Columbia-Barnard Jewish Voice for Peace (“Columbia JVP”). See ECF No. 52.

        To the extent Plaintiffs sue Mr. Jones in his “representative capacity” as the supposed
president or de facto president of Columbia JVP, the real party in interest is Columbia JVP itself.
For the reasons set forth in Alwan and Columbia JVP’s motions, the Amended Complaint fails to
state an aiding-and-abetting claim against Columbia JVP—or any other Associational Defendant
for that matter.

        Nor does the Amended Complaint come anywhere close to pleading a claim against Mr.
Jones in his individual capacity. Indeed, Plaintiffs do not even make a passing effort to
substantiate to their scurrilous accusation that Mr. Jones is an “admitted terrorist” or part of
Hamas’s “propaganda arm.” First Amended Complaint (“FAC”) ¶ 1. The totality of the facts
alleged against Mr. Jones are as follows: (1) he is president or de facto president of Columbia
JVP, FAC ¶ 32; (2) he “particiapt[ed] in the coordination of actions and events” and spoke “with
university administrators, and [Columbia JVP’s] student club advisors, id. ¶ 33; (3) he
maintained access to Columbia JVP’s “official email inbox” and Instagram account, id. ¶ 34; (4)
he attended several pro-Palestine demonstrations, was present at the Encampment, and sat in on a
lecture workshop, id. ¶¶ 75, 120, 135, 154; and (5) he described a peaceful protest as
“impactful.” Id. ¶ 122.

        Plaintiffs do not allege that: Mr. Jones provided any assistance whatsoever to Hamas,
directly or otherwise; that he communicated, coordinated, or took direction from Hamas
members; that he was aware of anyone within the student protest movement who communicated
or coordinated with Hamas; that he participated in or called for violence of any sort; that he
endorsed the targeting of civilians; that he made or endorsed anti-Semitic remarks; that he broke



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any laws or advocated lawlessness; or that he participated in protest activities for any reason
other than to express a genuinely held belief that Israel’s treatment of the Palestinians is unlawful
and unjust. The totality of the allegations against Mr. Jones describe nothing more than peaceful,
First Amendment-protected political advocacy.

       For these reasons the claims against Mr. Jones should be dismissed in their entirety, and
the improper and inflammatory allegations in the Amended Complaint should be stricken.


                                                              Respectfully submitted,

                                                              /S/ Joseph Pace
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